Case 1:17-mc-00151-LPS Document 265 Filed 05/14/21 Page 1 of 2 PageID #: 7476




                                                                                 Robert B. Pincus
                                                                                   Special Master
                                                                         108 Rockford Grove Lane
                                                                           Wilmington, DE 19806

                                           May 14, 2021

BY CM/ECF

The Honorable Leonard P. Stark
Chief Judge
U.S. District Court for the District of Delaware
U.S. Courthouse
844 North King Street
Wilmington, DE 19801-3570

               Re:     Crystallex International Corp. v. Bolivarian Republic of Venezuela,
                       D. Del. C.A. No. 1:17-mc-00151-LPS

Dear Chief Judge Stark:

       Pursuant to Your Honor’s Oral Order (D.I. 264), submitted herewith is a revised
Proposed Order Regarding Special Master (“Proposed Order”).

       Following the issuance of your Oral Order, I requested that the Intervenor Bondholders
provide a mark up of the previously submitted Proposed Order Regarding Special Master (D.I.
260-1) to reflect the rights that they were seeking. After receiving that mark up, I solicited the
comments of the other parties. Those comments generally disputed the Intervenor Bondholders’
proposed rights and also contained a significant number of proposed revisions relating to the
OFAC considerations included in the proposed Order.

        Accordingly, my counsel at Jenner & Block reached out to the OFAC counsel of the
various parties. Their discussions generally mirrored the conversations that we had last weekend
when preparing the previously submitted Proposed Order Regarding Special Master. Given that
I am not aware of any new facts relating to these OFAC considerations, I determined not to seek
to revise the Proposed Order with respect to those matters.

        I do, however, propose to revise the Proposed Order to include a limited set of rights to
the Intervenor Bondholders. Given that inclusion, the parties further dispute whether the
Intervenor Bondholders should contribute to the payment of the fees incurred by my Counsel,
my Advisors, and me. In view of the set of rights I have proposed to provide to the Intervenor
Bondholders and their role in this proceeding, I have determined not to seek to apportion fees to
the Intervenor Bondholders. I understand that the parties will have the opportunity to object and
present their positions on this and other issues, including those identified in my May 9th letter to
Your Honor, pursuant to Your Honor’s Oral Order (D.I. 264).
Case 1:17-mc-00151-LPS Document 265 Filed 05/14/21 Page 2 of 2 PageID #: 7477

The Honorable Leonard P. Stark
May 14, 2021
Page 2 of 2

          I am available at the convenience of the Court, should Your Honor have any questions.

                                                     Respectfully submitted,

                                                     /s/ Robert B. Pincus

                                                     Robert B. Pincus
RBP
Enclosure
7200989
